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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
        v.                                          Case No. 2:23-CV-02224

 The City of Memphis et al.,

                        Defendants.



               PLAINTIFF’S MOTION TO LIFT STAY ON PROCEEDINGS

       Plaintiff, through her undersigned counsel, moves the Court to lift the stay in proceedings

in this case for the indicted officer defendants in this case—Tadarrius Bean, Demetrius Haley,

Emmett Martin III, Desmond Mills, and Justin Smith—once each of these defendants have been

sentenced in the coming weeks.

       Pursuant to Pursuant to Local Rule 7.1(d), Plaintiff requests a hearing regarding this

motion. Plaintiff respectfully submits that said hearing can be held in conjunction with the June

23, 2025 hearing that has already been set by this Court to address a motion filed by Defendant

City of Memphis, see ECF 424, when all counsel will be present and available.

                                        *       *        *

       The time has come to lift the stay of proceedings for the defendant officers in this case.

The five officers who beat Mr. Nichols have all been tried in the criminal cases against them.

There are no outstanding charges, and no more trials. The officers will all be sentenced in the

coming weeks, with the last sentencing occurring on June 18. After that, their criminal cases will

end. The officers, of course, will have the right to appeal their convictions and their sentences.

But the imposition of Fifth Amendment stays in civil cases is a matter of discretion, and courts


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consistently hold that once a criminal defendant is sentenced, the Fifth Amendment stay in the

civil case should end: the defendant has been able to take full advantage of the stay to put the

government to its proof in the criminal matter, while the civil plaintiff should no longer be forced

to wait for an indeterminate period—often lasting years—while the criminal defendant’s various

criminal appeals of their convictions and collateral attacks on their sentences wind their way

through the courts. That is particularly so in this case. Mr. Nichols was killed more than two years

ago. The parties in this case have been prosecuting extensive discovery in this case for years, but

while they wait for trial, memories will inevitably fade, witnesses will be harder to find, and

evidence will be lost—in other words, as time passes it inevitably gets harder for Plaintiff to prove

her case. If yet more time is allowed to pass after sentencing, that prejudice will only compound.

       It is for this reason that, once a criminal defendant has been sentenced, courts lift Fifth

Amendment stays in civil cases and allow them to proceed. The interests in proceeding here, if

anything, are even greater: Plaintiff has alleged that the City of Memphis has a custom of tolerating

and covering up police brutality against Memphis residents, and the public has a considerable

interest in the prompt resolution of that charge. Once the officer defendants are sentenced for the

crimes they were convicted of committing in the beating and death of Tyre Nichols, it is

appropriate for them to answer Plaintiff’s civil claims against them as well.

                                        BACKGROUND

       Tyre Nichols died after being beaten by the officer defendants in January 2023. Plaintiff

filed this lawsuit in April of 2023, three months later, naming the defendant officers and several

other police officers and fire department employees, and alleging, pursuant to Monell, that Mr.

Nichols’ beating was a result of entrenched cultures of brutality within the Memphis Police

Department to which the City’s policymakers were indifferent. ECF 1. In the meantime, the officer



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defendants indicted criminally for their roles in Mr. Nichols’ beating as well. On January 26, 2023,

they were indicted in on state charges in the Criminal Court of Shelby County, and on September

12, 2023, they were incited on federal criminal charges in this Court. In light of those charges, the

officer defendants sought a stay of the proceedings against them in this civil case, and the Court

granted that request. ECF 110.

        Two years later, the parties now find themselves in a transformed procedural posture. The

officers’ trials have concluded in both state and federal court. Two of the defendant officers—

Mills and Martin—pleaded guilty to both state and federal charges, and testified about Mr.

Nichols’ beating in both the state and federal criminal trials. All of the defendant officers are set

to be sentenced in less than two weeks, between June 16 and June 18, 2025.

        Meanwhile, the parties in this case have been engaged in intensive discovery for two years,

and the close of written and oral discovery is imminent, on July 12, 2025 and August 29, 2025

respectively; based on this schedule, trial is set for July 2026—three and a half years after the

defendant officers beat Mr. Nichols and then tried to cover it up. ECF 276.

                                          ARGUMENT

        Plaintiff brings this motion in an effort to keep the July 2026 trial date in this case. That

will be impossible if the proceedings against the officer defendant officers are stayed any longer.

Quite simply, further delay in proceedings against the officers will cascade into another delay of

the trial date.

        That is not an outcome that the Fifth Amendment requires or even implies. To the contrary,

“[a] court-issued stay [in civil litigation] ‘due to a pending criminal investigation is an

extraordinary remedy.’ ” Adkins v. Fields, No. 7:22-CV-00007-REW-EBA, 2022 WL 1125822,

at *1 (E.D. Ky. Apr. 14, 2022) (quoting F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th



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Cir. 2014)). Rather, whether and when to issue a “Fifth Amendment” stay in a civil matter, and

when to lift it, is a matter of discretion for the Court. Id.

        Courts in the Sixth Circuit assess whether to impose Fifth Amendment stays in civil cases

by weighing a multi-factor test, which Plaintiff reviews below. At the outset, however, Plaintiff

notes that courts applying these factors have broadly treated a criminal defendant’s sentencing as

the decisive moment that tips the equities in favor of lifting stays in civil cases. As one court put

it, “the status of [a d]efendant's criminal case weighs strongly against granting a stay [when the

d]efendant has already been tried, convicted, and sentenced.” Sparkman v. Thompson, No. 08–01–

KKC, 2009 WL 1941907, at *2 (E.D. Ky. July 6, 2009) (emphasis added). That is so even where

the defendant may seek to appeal their conviction because, as Sparkman explained,

        [the d]efendant has already challenged the government's case in trial, he knows
        exactly how the government intends to prove his guilt and he is exceedingly able
        to avoid making incriminating statements that might be used against him if retried.
        Also, absent a waiver of his Fifth Amendment privilege, he has only a minimal
        concern that civil discovery will aid the criminal prosecution because the
        government has already assembled all the evidence needed for a conviction.
        Finally, since [the d]efendant's criminal case is currently on appeal, the possibility
        and timing of a retrial remains speculative at best. Unlike pre-trial requests for a
        stay, the Speedy Trial Act provides Plaintiffs no assurance that [the d]efendant's
        criminal case will be resolved quickly.

Id. In short, while the weight of the criminal defendant’s interest is greatly reduced once they have

been convicted and sentenced, the civil plaintiff will face interminable delays while the defendant

takes their time prosecuting any available appeals. For that reason, once a defendant has been

convicted and sentenced, the scales weigh decisively in favor of lifting the Fifth Amendment stay

that stalled out the civil case against them.

        The factors weighed by courts considering Fifth Amendment stays—including Sparkman,

supra—are as follows:




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           1) the extent to which the issues in the criminal case overlap with those
           presented in the civil case; 2) the status of the case, including whether the
           defendants have been indicted; 3)the private interests of the plaintiffs in
           proceeding expeditiously weighed against the prejudice to plaintiffs caused by
           the delay; 4) the private interests of and burden on the defendants; 5) the
           interests of the courts; and 6) the public interest.

Id. (citing Chao v. Fleming, 498 F. Supp. 2d 1034, 1037 (W.D. Mich. 2007)). “The most important

factor is the balance of the hardships.” Id. Plaintiff discusses those factors in turn:

   1. The extent to which the issues in the criminal case overlap with those presented in
      the civil case.
       As to the first factor, the parties and the Court agreed that the stayed Defendants’ criminal

proceedings overlap with plaintiff’s case. ECF 72, ECF 110. However, now that the trials have

concluded and the criminal sentencings will be complete in a matter of days, this factor should not

carry the day because the stayed Defendants Fifth Amendment rights are not risked as they would

have been pretrial and presentencing.

   2. The status of the case, including whether the defendants have been indicted.

       As summarized by Sparkman, supra, this second factor weighs decisively against

continuing a stay. Currently, all criminal charges against the stayed Defendants have been

adjudicated with either guilty pleas or dispositions after jury trials. The core purpose of issuing a

stay in a civil action because a party is subject to criminal proceedings relating to that civil action

is “to prevent the use of civil discovery and evidentiary procedures to obtain evidence for use in

the criminal matter.” Eastwood v. United States, No. 2:06-CV-164, 2008 WL 5412857, at *1 (E.D.

Tenn. Nov. 14, 2008). At this stage, any concern for civil discovery encroaching into the criminal

investigation and prosecution has subsided as the criminal trials are now complete.

Simultaneously, without lifting the stay and allowing Plaintiff to move forward with discovery in

her case, excessive and unnecessary delay appears inevitable. The stage of the criminal

proceedings being post-trial weighs in favor of lifting the stay.

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   3. The private interests of Plaintiff in proceeding expeditiously weighed against the
      prejudice to plaintiffs caused by the delay.

       The third factor weighs the plaintiff’s interest in proceeding with their case expeditiously

against the prejudice to plaintiff caused by delay. Without doubt, a stay of any kind prejudices a

plaintiff’s interest in expeditious litigation. Lifting the stay would ensure this case continues to

progress in a timely fashion and maintain the current scheduling order. The upcoming sentencing

of the stayed Defendants still creates a narrow timeline for the issuance and completion of written

discovery by July 12, 2025. ECF 276. The maintenance of this deadline is key. It threatens to

delay expert discovery, as the completion of written discovery will be required for the finality of

expert reports. The delays in the expert schedule would in turn force hold up the deadline for

dispositive motions. Of course, extending the deadline for dispositive motions burdens the Court

by forcing it into a compressed timeline to rule on summary judgment motions. In short, without

immediate lifting of the stay in proceedings Plaintiff will inevitably face prejudice in her ability to

expeditiously litigate her case. The stayed Defendants have been shielded from participation in

this litigation for 20 long months. In her pursuit for justice through this extended period Plaintiff’s

resolve has been tested. This factor weighs in favor of lifting the stay.

   4. The private interests of and burden on the defendants.

       This factor also weighs in favor of lifting the stay, as aptly set out by the Sparkman court,

supra. Some courts, indeed, identify the Fifth Amendment turning point not at sentencing but at

conviction. In United States v. Pardo, the D.C. Circuit found “that the privilege against self-

incrimination is lost once a witness has been convicted of the offense with respect to which he

fears incrimination[.]” 636 F.2d 535, 543 (D.C. Cir. 1980). Plaintiff does not propose to seek this

outcome, and draws the line further down, at sentencing instead. Of course if the officer

defendants so wish they may choose to assert their Fifth Amendment right against self-

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incrimination in response to discovery obligations in this case. 1 But that is a choice they may

make after having been convicted and sentenced for those same crimes.

   5. The interests of the courts.

       The fifth factor, the interests of the courts, also weighs in favor of the Court lifting the stay.

In deciding whether to implement or maintain a stay the Court has an interest in ensuring the cases

on its docket move towards expeditious conclusions. Eastwood, 2008 WL 5412857 at *5. Lifting

the stay now would aim to maintain the current scheduling order and the expeditious conclusion

of this case. Competing with this interest, for cases where a companion criminal case may warrant

the issuance of a stay, is that the resolution of the criminal matter may further the goal of

expeditious conclusion “by simplifying the issues[.]” Id. As the criminal trials for the stayed

Defendants cases are complete, any simplification of the legal issues of Plaintiff’s case by the

criminal proceedings has occurred. In all, this factor weighs in favor of lifting the stay.

   6. The public interest.

       The final factor for the Court’s consideration is the interests of the public. Of course,

without an immediate lifting of the stay in this matter the likelihood of a downhill effect on all

other operative deadlines in this case appears inevitable. That outcome would prejudice the public,

which has an interest in the expeditious adjudication of this matter. “The public interest is furthered




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        That right may not apply at all to Mills and Martin, who both pleaded guilty to crimes
involving their beating of Mr. Nichols and who testified in both the state and federal criminal trials.
See United States v. Taylor, No. 1:23cr98, 2023 WL 8236813, at *2 (N.D. Ohio Nov. 28, 2023)
(“A guilty plea expressly waives the Fifth Amendment right against self-incrimination with respect
to the crime to which the guilty plea is entered.”). Even without deciding questions on the precise
scope of resulting waiver, the effort by Mills and Martin to continue the stay in this case is
markedly inappropriate. Both these defendants testified in both criminal trials, presumably
because they hoped they would get a lighter sentence for doing so. Having sought to benefit from
waiving their Fifth Amendment rights in their criminal cases, these men cannot be heard to insist
on a Fifth Amendment stay to stall out this case civil case now.
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where individuals’ injuries are remedied in a timely manner.” F.T.C., 767 F.3d 611. at 628.

Moreover, the public’s interest in law enforcement has been accomplished, as the criminal trials

are complete, with either guilty pleas or jury verdicts, and sentencing will be complete in less than

two weeks. In deciding whether to maintain a stay, a court “must balance the right of the civil

litigant to a reasonably prompt determination of his claims with the public interest in law

enforcement.” Eastwood, 2008 WL 5412857 at *2. With the public’s law enforcement interest

adjudicated, all that remains is the timeliness of the remedy to Plaintiff’s claims. This factor weighs

in favor of lifting the stay.

                                          CONCLUSION

        For the reasons explained above, Plaintiff respectfully requests that the Court issue an

order lifting the stay in proceedings on Defendants Bean, Haley, Martin, Mills, and Justin Smith,

or to be heard on this motion in conjunction with previously set June 23, 2025 hearing.




Dated: June 5, 2025                            Respectfully submitted,

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                           CERTIFICATE OF CONSULTATION

       Pursuant to Local Rule 7.2(a)(1)(B), the undersigned hereby certifies that on May 8, 2025,

counsel for Plaintiff consulted with all parties via email regarding the relief requested in the

foregoing motion. Counsel for Defendants Tadarrius Bean, Demetrius Haley, Emmett Martin III,

Desmond Mills, and Justin Smith objected to the relief sought by Plaintiff via email. No other

defendant responded.


                                                           /s/ Stephen H. Weil
                                                           Stephen H. Weil




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